                        United States Court of Appeals for the Second Circuit
                                Thurgood Marshall U.S. Courthouse
                                          40 Foley Square
                                        New York, NY 10007

DEBRA ANN LIVINGSTON                                             CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                      CLERK OF COURT


Date: July 16, 2025                                              DC Docket #: 9:22-cv-356
Docket #: 24-2718                                                DC Court: NDNY (SYRACUSE)
Short Title: Farrington v. Poole                                 DC Judge: Trial Judge - Anne M.
                                                                 Nardacci




                               NOTICE OF SUBMISSION DATE
                              FOR DETERMINATION OF APPEAL

Submission Date:        Wednesday, September 3, 2025

A motion or stipulation to withdraw with or without prejudice must be filed no later than 3
business days prior to the scheduled date of submission. The Court will consider the motion or
stipulation at the time of submission, and counsel's appearance is not required. If a stipulation to
withdraw with prejudice is based on a final settlement of the case, the fully-executed settlement
must be reported immediately to the Calendar Team, and a copy of it must be attached to the
stipulation.

Inquiries regarding this case may be directed to 212-857-8595.
